Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 1 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 2 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 3 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 4 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 5 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 6 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 7 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 8 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 9 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 10 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 11 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 12 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 13 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 14 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 15 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 16 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 17 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 18 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 19 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 20 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 21 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 22 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 23 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 24 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 25 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 26 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 27 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 28 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 29 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 30 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 31 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 32 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 33 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 34 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 35 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 36 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 37 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 38 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 39 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 40 of 41
Case 09-29905   Doc 17-1   Filed 09/15/09 Entered 09/15/09 17:06:23   Desc Exhibit
                           A Part 1 Page 41 of 41
